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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
NATIONAL COALITION ON BLACK CIVIL                            :
PARTICIPATION et al.                                         :
                                                             :
                        Plaintiffs,                          :           20-CV-8668 (VM) (OTW)
                                                             :
                     -against-
                                                             :
JACOB WOHL et al.,                                           :                         ORDER
                                                             :
                        Defendants.                          :
                                                             :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         The Court has reviewed Plaintiff’s requests to file a Second Motion to Compel (ECF 182),

and for a ruling on its pending Motion to Compel.1 (ECF 174).

         Defendants Jacob Wohl, Jack Burkman, J.M. Burkman & Associates, and Project 1599

are directed to respond to Plaintiff’s filing (ECF 182) by April 14, 2022. To the extent these

defendants wish to provide further support for their argument that the disclosure of

information about “Tamika Taylor”—the woman they hired to record the robocalls—violates

their Fifth Amendment rights, they must incorporate it in this submission.




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  The Court recognizes that the Motion (ECF 182) was brought by the New York Office of the Attorney General
(“OAG”) on behalf of all Plaintiffs. OAG must clarify in its April 22, 2022 submission whether it is acting on behalf of
all Plaintiffs. If they are not, any remaining Plaintiffs must reply separately by that date.


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       Plaintiff is directed to respond to ECF 177 (Section 1.c., only) and Defendants’

forthcoming submission by April 22, 2022.


       SO ORDERED.



                                                          s/ Ona T. Wang
Dated: April 8, 2022                                    Ona T. Wang
       New York, New York                               United States Magistrate Judge




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